Case 2:03-cr-20047-SH|\/| Document 81 Filed 05/12/05 Page 1 of 2 Page|D 109

UNITED sTATEs DISTRICT CoURT ' m
WESTERN DIsTRICT 0F TENNESSEE n _ d
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UNITED sTATES 0F AMERICA l""’i"" Ul' m ME"`“E"""*'W
-vs- Case No. 2:03cr2004'7-Ma

VALERIE L. ALBONETTI

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
MONDAY, MAY 16, 2005 at 2:30 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federa] Building, 167 North Main,
Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the United States
l\/larshal and produced for the hearing

para May12,2005 /<UUW /( @y/y&

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

1lt` not held immediately upon defendants tirst appearance, the hearing may be continued for up to three days upon
motion oi` the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1°`)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f`) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justi ce, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or j uror.

AO 470 (E!BS) Order of Temporary Detention

This document entered on the docket sheet in co§mpiiance
with Rule 55 and/or 32(b) FRCrP on ,

DISTRIC COURT - WERNSTE D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 81 in
case 2:03-CR-20047 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

EdWin A. Perry

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U.S. ATTORNEY'S OFFICE
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Honorable Samuel l\/lays
US DISTRICT COURT

